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UNITED STATES OF AMERICA

VS.

CHAD MICHAEL HEARN

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IN THE UNITED STATES DIS'I`RICT COURT FOR_;T_HE_`
WESTERN DIS'I'RICT OF TENNESSEE ` '
EASTERN DIVISION

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NO. l:OS-lOOO9-Ol-'I`

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AMENDED ORDER ON JURY VERDICT

This cause came on to be tried on June 6 and 7, 2005,

Assistant U. S. Attorney, Angela R. Scott, representing the

government, and the defendant appeared in person and with counsel,

Richard Lowe Finney, III, who was retained.

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Upon statement of counsel that they were ready for trial on
not guilty plea heretofore entered by the defendant, a jury
called, qualified, tried, accepted and sworn to well and truly
the issues herein joined and a true verdict render according to
law and evidence.

After listening to all of the testimony, arguments of counsel
charge of the court, the alternate juror was discharged and
jury retired to the jury room to begin its deliberation. After

deliberation, the jury returned into open Court on June 7,

2005, and announced its verdict of GUILTY as charged in

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with sure 55 and/or 32 {b) FRCrP on ~ ff) OQ

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Counts l and 2 of the Indictment. Jurors polled individuallyr
thanked for services and discharged.

This case is set for sentencing on Wednesdav, September 7,
2005 at 8:30 a.m.

The defendant is allowed to remain on his present bond until
sentencing.

IT IS SO ORDERED

O/WA M

D. TODD
ED STATES DISTRICT JUDGE

DATE- /V %{ MS/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 1:05-CR-10009 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Richard L. Finney

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Honorable J ames Todd
US DISTRICT COURT

